
687 S.E.2d 483 (2009)
STATE of NC
v.
Jimmy Waylon WARD.
No. 365PA09.
Supreme Court of North Carolina.
November 18, 2009.
Amy K. Irene, Assistant Attorney General, for State of North Carolina.
Paul F. Herzog, Fayetteville, for Jimmy Waylon Ward.
The following order has been entered on the motion filed on the 15th of November 2009 by Defendant-Appellee for Extension of Time to File Brief:
"Motion Allowed. Defendant shall have up to and including the 23rd day of December, 2009 to file and serve his/her brief with this court. By order of the Court in conference this the 18th of November 2009."
